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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION
 In re

 Interstate Underground Warehouse and                 Case No. 21-40834
 Industrial Park, Inc.,                               Chapter 11

                              Debtor

              STIPULATED MOTION FOR ASSUMPTION OF AGREEMENT

         Debtor Interstate Underground Warehouse and Industrial Park, Inc. (“Debtor” or

“Interstate”) and Creditors Empire Holding, Inc., U.S. Patriot Services, American Veteran KCA,

and American Veteran STLA (collectively “Empire”) (Interstate and Empire are collectively the

“Parties”) by and through their respective undersigned counsel hereby move this Court to

approve the Parties’ stipulation set forth below. In support of this motion the Parties state as

follows.

         Empire and Interstate are parties to a Storage and Delivery Agreement (“Agreement”)

which provided for the storage and delivery by Interstate of caskets (coffins) to veterans of the

U.S. Military. Since Interstate filed for bankruptcy, there have been 37 veterans who have died.

Interstate did not deliver those caskets. Rather, the costs of those deliveries were borne by

Empire. The parties have agreed that Interstate will assume the Contract pursuant to the

following stipulated provisions.

            1. Subject to the stipulations below, Interstate assumes the Agreement
               pursuant to 11 U.S.C. § 365.

            2. These stipulations shall control and supersede any contradicting provision
               in the Agreement. For purposes of these stipulations, the term “Approval
               Date” shall mean the date that an order of the Bankruptcy Court approving
               the assumption of the Agreement becomes final and non-appealable.
               Additionally, for purposes of these stipulations, the term “Gap Period”
               refers to the period of time between (a) the date the Parties file this
               stipulated motion with the Court and (b) the Approval Date.



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           3. Interstate shall deliver to deceased veterans at its own cost and expense (a)
              the next 37 caskets plus (b) a number of caskets equal to the number of
              caskets that Empire delivers during the Gap Period. The delivery of these
              caskets shall constitute Interstate’s cure costs under the Agreement.

           4. Once Interstate has delivered all of the caskets required by the preceding
              paragraph then, continuing thereafter, the cost of delivering caskets will be
              divided between the Parties as follows:

                  a. Interstate shall be responsible for supplying the driver and a
                     vehicle to transport the casket.

                  b. Empire shall pay the cost of gas for delivering the casket. The cost
                     of gas will be computed using the following formula:

Amount Paid = (Published National Gas Price Average * Total Roundtrip Miles)/20.

The “Published National Gas Price Average” shall be determined by using the national
gas price average as published by AAA at the following website
https://gasprices.aaa.com/ on the date of the delivery.

The “Total Round Trip Miles” shall be determined by using Google Maps to determine
the total number of miles from Interstate’s location to the delivery point and then
multiplying that figure by two (to account for the round trip delivery).

By way of example only, suppose that the Published National Gas Price Average was
$4.50 on the delivery date and the delivery destination was 270 miles from Interstate’s
facility (i.e., 540 roundtrip miles). In that situation the Amount Paid would be $121.50
=($4.50*540)/20.

           5. Interstate’s facility is comprised, in part, of a warehouse portion where
              various items are stored and to which Interstate employees have access
              (hereinafter the “Warehouse”) and dry-storage units which are located at
              Interstate’s facility but which are only accessible by tenants and not by
              Interstate employees (hereinafter the “Dry-Storage”). Currently, all of
              Empire’s caskets are located in the Warehouse portion of the facility. A
              portion of those caskets are wrapped and stored vertically (hereinafter the
              “Vertical Caskets”) and the remaining portion are unwrapped and are
              laying down in a horizontal manner (hereinafter the “Horizontal Caskets”).

           6. Within two-months of the Approval Date, Empire shall conduct a casket-
              by-casket inspection of the Horizontal Caskets to identify (a) which
              caskets can be refurbished and (b) which caskets are too far beyond repair
              to be refurbished. Within one month following that inspection, Empire
              shall remove at its expense any caskets from the Warehouse that are too



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               far beyond repair to be salvageable. With respect to Horizontal Caskets
               that can be refurbished, Empire will coordinate to have them temporarily
               removed (likely four caskets at a time) where they will be refurbished and
               then re-delivered to Interstate where they will be stored in a wrapped and
               upright manner in a Dry-Storage unit. Interstate will fully cooperate in
               this process including providing sufficient Dry-Storage space such that,
               once they are refurbished, all Horizontal Caskets shall be stored in an
               upright manner in the Dry-Storage unit of the facility. The refurbished
               caskets will be wrapped and/or placed in the Dry-Storage unit solely by
               Empire and at Empire’s cost. No later than nine months from the Approval
               Date Empire will complete the refurbishment process such that all
               Horizontal Caskets shall be either removed from the Warehouse or
               refurbished and re-delivered to Interstate where they will be stored
               wrapped and upright in Dry-Storage by Empire’s agents.

           7. Empire will incur the time and expense of contacting all veterans to verify
              that they are alive. Empire will complete this process within two-months
              of the Approval Date. To the extent that Empire determines that there are
              any veterans who have died but whose families did not take delivery of the
              casket, then Empire shall arrange for the removal of the caskets (whether
              they be Horizontal Caskets or Vertical Caskets) from the Interstate facility
              within three-months of the Approval Date.

           8. Empire shall remove all Caskets (wherever stored) from Interstate’s
              facility within three-years from the Approval Date. Following the
              expiration of the three-year period, Interstate shall have no further
              obligations under the Agreement to either store or deliver caskets. To the
              extent that the parties desire to do any further business with one another
              then they shall do so only upon entering into a new, written agreement.
              Empire agrees that it will not store any new caskets. This agreement
              relates solely to the existing inventory of caskets.

           9. Empire will not object to any Plan of Reorganization (or amended Plan of
              Reorganization) that Interstate may propose provided that any such plan is
              consistent with the terms of this stipulation. Plan that Interstate’s Empire
              shall

       WHEREFORE, the Parties request that this Court approve the foregoing stipulation and

enter all other relief in favor of the Parties that this Court deems just and equitable.




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Dated: July 12, 2022.

Respectfully submitted,

 KRIGEL & KRIGEL, P.C.                              HUSCH BLACKWELL LLP

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 Counsel for Interstate Underground                 Counsel for Creditors Empire Holding, Inc.,
 Warehouse and Industrial Park, Inc.                U.S. Patriot Services, American Veteran
                                                    KCA, and American Veteran STLA


                               CERTIFICATE OF SERVICE

        I hereby certify that on July 12, 2022, the above and foregoing document was filed
electronically using CM/ECF and a true and correct copy of the above and foregoing was served
as follows:

       X      upon filing, the Court’s electronic noticing systems and sent notice to all parties
              participating in the CM/ECF system in this matter.


                                                      /s/ Michael D. Fielding
                                                      Michael D. Fielding MO 53124




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